AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Tennessee

In the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address) Case No. 1:19-mj- 3 a

The Business and Premises associated with
1027 Lower Mill Road, Hixson, TN

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A, attached and incorporated herein.

located in the Eastern District of Tennessee , there is now concealed (identify the

 

person or describe the property to be seized):
See Attachment B, attached and incorporated herein.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
© evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
8 U.S.C. §§ 1324(a)(1)(A)(iii) and (iv) & (B)(1); Harboring Aliens for Commercial Advantage or Private Financial Gain
18 U.S.C. § 922(g)(5); Alien in Possession of Firearms
18 U.S.C. §§ 1956(a)(1) and 1957(a). Money Laundering

The application is based on these facts:

See Attached Affidavit, Incorporated Herein

om Continued on the attached sheet.

O Delayed notice of days (give exact ending date ifmore than30 days: ———————_—sC&) is requested
under 18 U.S.C. § 3 3103a, the basis of which is set forth on the attached sheet.

eS S Ae e

Z, Rives, Special Agent, Homeland Security
Printed name and title

Sworn to before me and signed in my presence.

Date: 44 mw 7 és "FS =f ™—
Judge’s sighgture _

City and state: Chattanooga, Tennessee Hon. Christopher H. Steger, U.S. Magistrate Judge
Printed name and title

 

 

Case 1:19-mj-00082-CHS Document1 Filed 04/25/19 Page 1iofi PagelD#: 1
